
698 S.E.2d 73 (2010)
STATE
v.
John Edward BREWINGTON.
No. 235P10.
Supreme Court of North Carolina.
June 4, 2010.
Anna S. Lucas, Sanford, for John Edward Brewington.
Daniel P. O'Brien, Assistant Attorney General, Robert C. Montgomery, Special Deputy Attorney General, for State of N.C.
Prior report: ___ N.C.App. ___, 693 S.E.2d 182.
*74 The following order has been entered on the motion filed on the 3rd of June 2010 by State of NC for Temporary Stay:
"Motion Allowed by order of the Court in conference this the 4th of June 2010."
